Case 20-20425-GLT        Doc 197
                               Filed 10/21/20 Entered 10/21/20 15:48:10
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                              Document      Page 1 of 1             10/21/20 3:03 pm
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                                                                    U.S. BANKRUPTCY
                   IN THE UNITED STATES BANKRUPTCY COURT            COURT - :'3$
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE:

 VIDEOMINING CORPORATION,                         Bankruptcy No. 20-20425-GLT

               Debtor.                            Chapter 11

 VIDEOMINING CORPORATION,                         Document No.

               Movant,                                                 191
                                                  Related to Doc. No. 173

       vs.

 NO RESPONDENT.


                                    ORDER OF COURT

       Upon consideration of the Debtor’s Second Motion to Extend the Exclusivity

 Periods, it is hereby ORDERED, ADJUDGED and DECREED that:

          1.   The Debtor is hereby granted an extension of the exclusive period to file a

                                                           1
               Plan of Reorganization until January 29, 2020.

          2.   The period mandated by 1121(c)(3) is hereby extended until March 30,

               2021.

          3.   This Order is without prejudice to the rights of White Oak Business

               Capital, Inc., or any other party-in-interest, to file a motion seeking an

               expedited hearing to request shortening or terminating the exclusive

               periods should it be deemed by the Court that cause exists for such party-

               in-interest to seek such relief.
               Robert Lampl, Esq.

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                                                  United States Bankruptcy
                                                                      p    Judge

      October 21, 2020
